UNITED STATES DISTRICT COURT

FILED

EASTERN DIVISION
ROH ARUN, BEET
. Giiceeky Wik. Biwi ee a OT

UNITED STATES OF AMERICA )

} O8CR1155

Vv. } No.

} Violations: Title 18, United States
MOHAMMAD AWAD, ) Code, Sections 1029(a}(2) and (b)(2),
YASER DAMRA, ) 1030(a)(2)(A), 1343, 1344, and 2
AMIRA HAMIDEH, ) .
AKRAM HASAN, ) - ’
SULEIMAN ODEH, and ) JUDGE LEFKOW,
MOHAMMAD SHOLLE )

MAGISTRATE JUDGE NOLAN

COUNT ONE
The SPECIAL SEPTEMBER 2002 GRAND JURY charges:
1. At times material to this indictment:
a. Bank Financial, Manufacturers Bank, Wachovia Bank, Discover Bank, MBNA
American Bank, Bank One, Charter One Bank, Mid America Bank, LaSalle Bank, Citibank, and
US Bank, described collectively herein as the “the victim banks,” were financial institutions, the
deposits of which were insured by the Federal Deposit Insurance Corporation.
b. Defendant AMIRA HAMIDEH was a teller at Bank Financial, 48 Orland
Square, Orland Park, Illinois, whose responsibilities included depositing and withdrawing funds,
and opening and closing accounts, on behalf of Bank Financial’s customers.
c, Defendant AKRAM HASAN was a car salesman at Rizza Chevrolet, 8200
South Harlem, Bridgeview, Illinois, whose responsibilities included running credit checks on

potential customers.

2. Beginning in or about March 2001, and continuing through in or about March

 

 
2002, in the Northern District of Illinois, Eastern Division, and elsewhere,
MOHAMMAD AWAD,
YASER DAMRA,
AMIRA HAMIDEH,
AKRAM HASAN,
SULEIMAN ODEH, and
MOHAMMAD SHOLLE,
defendants herein, along with others known and unknown to the Grand Jury, knowingly devised
and participated in a scheme to defraud the victim banks and to obtain money and funds owned
by and under the custody and control of the banks, by means of materially false and fraudulent
pretenses, tepresentations, and promises, which scheme is further described in the following
paragraphs.

3. It was part of the scheme that defendants and their co-schemers fraudulently
obtained identification information for customers of the victim banks and other individuals (“the
individual victims”) and used these identifiers to access and use credit card and bank accounts in
the individual victims’ names. Defendants used the victims’ credit card and bank accounts to
purchase goods and services, wire funds, and forge checks, which defendants and their co-
schemers deposited or cashed for their own purposes.

4, It was further part of the scheme that defendant HAMIDEH obtained personal
identification information of customers of Bank Financial, including their names, addresses,
social security numbers, dates of birth, and their mothers’ maiden names, and gave this
information to defendant SULEIMAN ODEH.

5. It was further part of the scheme that defendant ODEH and his co-schemers

obtained identification information of custorners of Manufacturers Bank and other banks,

 
including their names, addresses, social security numbers, dates of birth, and their mothers’
maiden names.

6. It was further part of the scheme that defendants ODEH and MOHAMMAD
AWAD provided the identification information they obtained from defendant HAMIDEH and
other co-schemers to defendant AKRAM HASAN, who then used the information to run and
obtain credit reports and information at Rizza Chevrolet on the individual victims.

7. It was further part of the scheme that defendants ODEH, AWAD, YASER
DAMRA, and MOHAMMAD SHOLLE and their co-schemers used the information from the
Rizza Chevrolet credit reports and other credit reports (“the credit reports”) to apply for new
credit card accounts in the names of various individual victims.

8. It was further part of the scheme that defendants ODEH, AWAD, DAMRA, and
SHOLLE and their co-schemers used the information in the credit reports to acquire personal
checks, credit cards, credit card numbers, and credit card convenience checks for the individual
victims’ already-existing credit card and bank accounts.

9. It was further part of the scheme that defendants ODEH, AWAD, DAMRA, and
SHOLLE and their co-schemers stole and caused to be stolen credit cards and checks from the
United States mail.

10. It was further part of the scheme that defendants ODEH, AWAD, DAMRA, and
SHOLLE and their co-schemers used the credit card numbers they acquired to make
unauthorized charges on the individuals victims’ accounts.

11. It was further part of the scheme that defendants ODEH, AWAD, DAMRA, and

SHOLLE and their co-schemers used the credit card numbers they acquired to make

 
 

unauthorized wire transfers from the individual victims’ accounts to credit card and bank
accounts in their names and the names of other co-schemers and individuals.

12. It was further part of the scheme that defendants ODEH, AWAD, DAMRA, and
SHOLLE and their co-schemers forged the individual victims’ names on the bank checks and
credit card convenience checks they stole and deposited the funds into their own accounts and the
accounts of other co-schemers and individuals.

13. Asaresult of the scheme described above, defendants and their co-schemers
caused and attempted to cause a loss to the victin banks and the individual victims in excess of
$300,000.

14. ‘It was further part of the scheme that defendants misrepresented, concealed, and
hid, and caused to be misrepresented, concealed and hidden, the true purposes of the acts done in
furtherance of the scheme.

15. In or about April 2001, in the Northern District of Iinois, Eastern Division, and
elsewhere,

MOHAMMAD AWAD,
YASER DAMRA,
AMIRA HAMIDEH,
AKRAM HASAN,
SULEIMAN ODEH, and
MOHAMMAD SHOLLE,

defendants herein, for the purpose of executing the above-described scheme and attempting to do
so, fraudulently obtained and caused to be obtained identification information for Bank Financial
customer A.N., without A.N.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1344 and 2.
COUNT TWO

The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:
1. Paragraphs 1-14 of Count One of this indictment are realleged and incorporated as
though fully set forth herein.
2, In or about August 2001, in the Northern District of Illinois, Eastern Division, and
elsewhere,
MOHAMMAD AWAD,
YASER DAMRA,
AMIRA HAMIDEH,
AKRAM HASAN,
SULEIMAN ODEH, and
MOHAMMAD SHOLLE,
defendants herein, for the purpose of executing the above-described scheme and attempting to do

so, fraudulently obtained identification information for Bank Financial customer P.D., without

P.D.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1344 and 2.

 
COUNT THREE

The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:

1. Paragraphs 1 and 3-14 of Count One of this indictment are realleged and incorporated
as though fully set forth herein.

2. On or about November 25, 2001, in the Northern District of Illinois, Eastern Division,
and elsewhere,

MOHAMMAD AWAD,

defendant herein, for the purpose of executing the above-described scheme and attempting to do
so, did cause to be transmitted in interstate commerce from Dallas, Texas to Chicago, Hlinois,
certain writings, signs, signals, and sounds, namely a communication to transfer and credit
$7,500 from the credit card account of J.E. to the Foster bank account of defendant AWAD,

without J.E.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1343 and 2.

 
COUNT F
The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:
Paragraphs | and 3-14 of Count One of this indictment are realleged and incorporated as
though fully set forth herein.
2, On or about December 13, 2001, in the Northern District of Minois, Eastern Division,

and elsewhere,
MOHAMMAD AWAD,

defendant herein, for the purpose of executing the above-described scheme and attempting to do
so, did cause to be transmitted in interstate commerce from Dallas, Texas to Lombard, Illinois,
certain writings, signs, signals, and sounds, namely a communication to transfer and credit
$2,500 from the credit card account of D.L. to the West Suburban bank account of Co-schemer

A, who then gave the funds to defendant AWAD, without D.L.’s knowledge or consent,

In violation of Title 18, United States Code, Sections 1343 and 2.

 
COUNT FIVE
The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:

1. Paragraphs 1-14 of Count One of this indictment are realleged and incorporated as

though fully set forth herein.

2, On or about January 9, 2002, in the Northern District of Ulinois, Eastern Division, and
elsewhere,

SULEIMAN ODEH,
defendant herein, for the purpose of executing the above-described scheme and attempting to do
50, knowingly deposited and caused to be deposited a stolen and forged Wachovia Bank check
from the account of bank customer R.A., in the amount of $6,800, into a LaSalle bank account in
the name of Co-schemer 8, without R.A.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1344 and 2.
OUNT
The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:
1. Paragraphs | and 3-14 of Count One of this indictment are realleged and incorporated
as though fully set forth herein.
2. On or about June 6, 2001, in the Northern District of Illinois, Eastern Division, and

elsewhere,
SULEIMAN ODEH,

defendant herein, for the purpose of executing the above-described scheme and attempting to do
so, did cause to be transmitted in interstate commerce from Minneapolis, Minnesota to Chicago,
Illinois, certain writings, signs, signals, and sounds, namely a communication to transfer and
credit $9,000 from the credit card account of J.C. to defendant ODEH’s TCF bank account,

without J.C.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1343 and 2.

 

 
COUN E
The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:
Paragraphs 1 and 3-14 of Count One of this indictment are realleged and incorporated as
though fully set forth herein.
2, Qn or about March 7, 2002, in the Northern District of Ilinois, Eastern Division, and

elsewhere,
MOHAMMAD SHOLLE,

defendant herein, for the purpose of executing the above-described scheme and attempting to do
so, did cause to be transmitted in interstate commerce from New York, New York to Chicago,
Illinois, certain writings, signs, signals, and sounds, namely a communication to transfer and
credit $2,800 from the credit card account of T.P. to the bank account of Co-schemer C, who
then gave the funds to defendant SHOLLE, without T.P.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1343 and 2.

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COUNT EIGHT

The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:

1. Paragraphs 1 and 3-14 of Count One of this indictment are realleged and incorporated
as though fully set forth herein.

2, On or about November 20, 2001, in the Northern District of Illinois, Eastern Division,
and elsewhere,

MOHAMMAD SHOLLE,

defendant herein, for the purpose of executing the above-described scheme and attempting to do
so, did cause to be transmitted in interstate commerce from Concord, New Hampshire to
Chicago, Ilinois, certain writings, signs, signals, and sounds, namely a communication to
transfer and credit $7,500 from the credit card account of W.L. to defendant SHOLLE’s
Providian bank account, without W.L.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1343 and 2.

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COUNT NINE
The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:

1. Paragraphs 1 and 3-14 of Count One of this indictment are realleged and incorporated
as though fully set forth herein.

2. On or about November 19, 2001, in the Northern District of Illinois, Eastern Division,
and elsewhere,

YASER DAMRA,

defendant herein, for the purpose of executing the above-described scheme and attempting to do
so, did cause to be transmitted in interstate commerce from Richmond, Virginia to Chicago,
Illinois, certain writings, signs, signals, and sounds, namely a communication to transfer and
credit $5,000 from the credit card account of M.O. to defendant DAMRA’s Capital Onc Visa
credit card account, without M.O,’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1343 and 2,

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COUNT TEN

The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:

1. Paragraphs 1 and 3-14 of Count One of this indictment are reaileged and incorporated
as though fully set forth herein.

2. On or about November 10, 2001, in the Northern District of linois, Eastern Division,
and elsewhere,

YASER DAMRA,

defendant herein, for the purpose of executing the above-described scheme and attempting to do
so, did cause to be transmitted in interstate commerce from Newark, Deleware to Chicago,
Illinois, certain writings, signs, signals, and sounds, namely a communication to transfer and
credit $3,500 from the credit card account of J.W. to defendant DAMRA’s Associates Bank
account, without J.W.’s knowledge or consent;

In violation of Title 18, United States Code, Sections 1343 and 2.

 
COUNT EL
The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:
1. Paragraph 1 of this indictment is realleged and incorporated as though fully set forth
herein.
2. Beginning in or about March 2001, and continuing through in or about March 2002, in
the Northern District of Dlinois, Eastern Division, and elsewhere,,
MOHAMMAD AWAD,
YASER DAMRA,
AMIRA HAMIDEH,
AKRAM HASAN,
SULEIMAN ODEH, and
MOHAMMAD SHOLLE,
defendants herein, did conspire with each other and others known and unknown to the Grand jury
to knowingly and with intent to defraud use unauthorized access devices, namely, credit card
account numbers, and by such conduct obtained $1,000 or more in goods and services, thereby
affecting interstate commerce, which conspiracy is further described in the following paragraphs.
3, It was part of the conspiracy that defendants and their co-conspirators fraudulently
obtained identification information for customers of the victim banks and other individuals (“the
individual victims”) and used these identifiers to access and use credit cards and bank accounts
in the individual victims’ names. Defendants used the victims’ credit card and bank accounts to
purchase goods and services, wire funds, and forge checks, which defendants and their co-
conspirators deposited or cashed for their own purposes,

4. It was further part of the conspiracy that defendant HAMIJDEH obtained personal

identification information of customers of Bank Financial, including their names, addresses,

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social security numbers, dates of birth, and their mothers’ maiden names, and gave this
information to defendant SULEIMAN ODEH.

5. Tt was further part of the conspiracy that defendant ODEH and his co-conspirators
obtained identification information of customers of Manufacturers Bank and other banks,
including their names, addresses, social security numbers, dates of birth, and their mothers’
maiden names.

6. It was further part of the conspiracy that defendants ODEH and MOHAMMAD
AWAD provided the identification information they obtained from defendant HAMIDEH and
other co-schemers to defendant AKRAM HASAN, who then used the information to run and
obtain credit reports and information at Rizza Chevrolet on the individual victims.

7. It was further part of the conspiracy that defendants ODEH, AWAD, YASER
DAMRA, and MOHAMMAD SHOLLE and their co-conspirators used the information from the
Rizza Chevrolet credit reports and other credil reports (“the credit reports”) to apply for new
credit card accounts in the names of various individual victims.

8, It was further part of the conspiracy that defendants ODEH, AWAD, DAMRA, and
SHOLLE and their co-conspirators used the information in the credit reports to acquire personal
checks, credit cards, credit card numbers, and credit card convenience checks for the individual
victims’ already-existing credit card and bank accounts.

9. It was further part of the conspiracy that defendants ODEH, AWAD, DAMRA,
and SHOLLE and their co-conspirators stole and caused to be stolen credit cards and checks
from the United States mail.

10, ‘It was further part of the conspiracy that defendants ODEH, AWAD, DAMRA,

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and SHOLLE and their co-conspirators used the credit card numbers they acquired to make
unauthorized charges on the individuals victims’ accounts,

11. It was further part of the conspiracy that defendants ODEH, AWAD, DAMRA,
and SHOLLE and their co-conspirators used the credit card numbers they acquired to make
unauthorized wire transfers from the individual victims’ accounts to credit card and bank
accounts in their names and the names of other co-conspirators and individuals.

12, It was further part of the conspiracy that defendants ODEH, AWAD, DAMRA,
and SHOLLE and their co-conspirators forged the individual victims’ names on the bank checks
and credit card convenience checks they stole, and deposited the funds into their own accounts
and the accounts of other co-conspirators and individuals.

13. As aresult of the conspiracy described above, defendants and their co-
conspirators caused and attempted to cause a loss to the victim banks and the individual victims
in excess of $300,000.

14. It was further part of the conspiracy that defendants misrepresented, concealed,
and hid, and caused to be misrepresented, concealed and hidden, the true purposes of the acts
done in furtherance of the conspiracy.

Overt Acts
15. In furtherance of the conspiracy, and in order to effect the objects of the
conspiracy, defendants committed the following acts, among others, in the Northern District of
Illinois:
a. In or about April 2001, defendant HAMIDEH gave defendant ODEH the

identification information for Bank Financial customer A.N., without A.N,’s knowledge or

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consent.

b. In or about August 2001, defendant HAMIDEH gave defendant ODEH the
identification information for Bank Financial customer P.D., without P.D,’s knowledge or
consent.

c. On or about August 4, 2001, defendant HASAN, using Rizza Chevrolct’s
computers, without authorization accessed six credit reports of individual victims and gave the
reports to defendant ODEH.

d. On or about November 25, 2001, defendant AWAD caused $7,500 to be
wired from the credit card account of J.E. to defendant AWAD’s bank account at Foster Bank.

e, On or about January 9, 2002, defendant ODEH deposited and caused to be
deposited a stolen and forged Wachovia Bank check in the amount of $6,800 into co-conspirator
B’s LaSalle bank account.

f. On or about November 20, 2001, defendant SHOLLE caused $7,500 to be
wited from the credit card account of W.L. to defendant SHOLLE’s bank account at Providian

Bank.

g. On or about November 19, 2001, defendant DAMRA caused $5,000 to be

wired from the credit card account of M,O. to defendant DAMRA’s Capital One Visa credit card

account,

 

 
h. On or about December 13, 2001, co-conspirator Fady Igbara possessed 40
Trans Union credit reports containing names, addresses, and social security numbers of
individual victims.

All in violation of Title 18, United States Code, Sections 1029(a)(2) and (b)(2).

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COUNT TWELYE

The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:
On or about August 4, 2001, at Bridgeview, in the Northern District of Illinois, Eastern
Division, and elsewhere,

AKRAM HASAN and
SULEIMAN ODEH,

defendants herein, intentionally accessed a computer without authorization, namely a computer at
Rizza Chevrolet, and thereby obtained information contained in a file of a consumer reporting
agency on a consumer, namely six credit reports from Trans Union, which caused loss to one or
more persons during a one-year period aggregating at least $5,000 in value.

In violation of Title 18, United States Code, Section 1030(a)(2)(A).

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TT TEEN
The SPECIAL SEPTEMBER 2002 GRAND JURY further charges:
On or about August 23, 2001, at Bridgeview, in the Northern District of Ilinois, Eastern

Division, and elsewhere,

AKRAM HASAN and
SULEIMAN ODEH,

defendants herein, intentionally accessed a computer without authorization, namely a computer at
Rizza Chevrolet, and thereby obtained information contained in a file of a consumer reporting
agency on a consumer, namely four credit reports from Trans Union, which caused loss to one or
more persons during a one-year period aggregating at least $5,000 in value;

In violation of Title 18, United States Code, Section 1030(a)(2)(A).

A TRUE BILL:

ees STAN)
FOREPERSON

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UNITED STATES SUTORNDY

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No.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERH DIVISION

 

UNITED STATES OF AMERICA
VS.

| eS MOHAMMAD AWAD, YASER DAMRA, AMIRA HAMIDEH, AKRAM HASAN, SULEIMAN ODEH, and MOHAMMAD SHOLLE

 

 

IHDICTMWENT

Violation(s}): Title 18 United States Code Sections 1029(a} & (bi {2),
1030fa) (2) {A}, 1343, 1344, and 2

 

 

& true bill,

 

Filed in open court this

 

 

 

 
